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   Case 9:22-mj-08332-BER Document 137 Entered on FLSD Docket 09/22/2022 Page 1 of 5



      Via Express Mail: EI 009 992 158 US

      September 17, 2022
                                                                   Michael S. Barth
                                                                   P.O. Box 832
                                                                   Far Hills, New Jersey 07931
                                                                   917-628-6145

      U.S. Court of Appeals for the 11th Circuit                               r=liE□ -sv = ,fa---0-c··_-1
      Clerk of the Court                                                                      . -                  - . .I
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      Court of Appeals Administrative Offices                                           SEP 22 2022                    }.,'.
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      Atlanta,-Georgia-30303                                                          -8 -'2:..,9E,_~LA;...-WP9°
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      Re:    Court of Appeals Case Numbers: 22-1293-K, 22-13061-K
             In Re Sealed Search Warrant (United States of America v. Sealed Search Warrant)
             United States of America v. Michael S. Barth
             District Court Case No. 9:22-MJ-08332-BER
             Fee Status - Fee Not Paid

      Dear Sir or Madam,

      On the Docket for Appeal 22-12932 and an Amended Notice of Appeal 22-13061, there are
      entries posted "Fee Status: Fee Not Paid." Please note that in discussion with the District Court
      Clerk's Office on Friday August 16, 2022, that the District Court Clerk's Office indicated that
      the fee for appeal 22-12932-K (Docket Entry 108) was paid, as noted at Docket Entry 113
      (inserted below):

       108 Filed:                                                                          08/31/2022
           !Entered:                                                                       09/01/2022
           Docket Text: NOTICE OF APPEAL by Michael S Barth as to Sealed Search Warrant Re:
           [80] Order, [94] Order on Motion to Unseal Document, [99] Order to Unseal. FILING FEE:
           (NOT PAID). Within fourteen days of the filing date of a Notice of Appeal, the appellant
           must complete the Eleventh Circuit Transcript Order Form regardless of whether transcripts
           are being ordered [Pursuant to FRAP l0(b)]. For information go to our FLSD website under
           Transcript Information. (apz)
       113 Filed & Entered:                                                                09/07/2022
           Docket Text: Clerks Notice of Receipt of Appeal Filing Fee received on 9/6/2022 re DE
           [108] Notice of Appeal. (kpe)

      Please also find attached, copies of the receipt for the fee paid in appeal 22-12791, and a copy of
      the receipt for the fee paid in appeal 22-12932.

      To my knowledge under F.R.A.P. 4(a)(4)(B)(iii) "[n]o additional fee is required to file an
      amended notice" of appeal. See also e.g., Owen v. Harris County, Tex., 617 F.3d 361, 362 (CA5
Case 9:22-mj-08332-BER Document 137 Entered on FLSD Docket 09/22/2022 Page 2 of 5




  2010).lam notawareofanyotherrulesandEleventhCircuitprecedentrequhingpaymentfora
  separatefee forthe Amended NoticeofAppeal.H owever,ifthe Courthasadifferentposition,
  please1etmeknow and Iw illpay thefee forthethird CourtofAppealsDooketNumber,and
  takeon appealsimilarto theOw en case noted above.

  Thank you foryourassistanceinthismatter.

  Respectfully submitted,

  IslM ichaelS.Barth

  M ichaelS.Bartk AppellantProSe
  C:
  United StatesDistrictCourt
  Southelm DistrictofFlorida
  Oo ce oftheClerk
  701Clem atisStreet,Room 202
  W estPalm Beack FL 33401
  (ViaCertM ail:70220410000229287811)
  Lisa Tobin Rubio
  U .S.Atorney'sOffice
  Southem DistrictofFlorida
  99 N .E 4111Street, Floor5
  M iam i,FL 33132-2111

  (ViaRegularM ail.Coverletteronly.)
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         Michael S. Barth
         P.O. Box 832
         Far Hills, NJ 07931                        United States District Court
                                                    Southern District of Florida
                                                    Office of the Clerk
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                                                    701 Clematis Street, Room 202.                              i- ~...,
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                                                    West Palm Beach, FL 33401                                   ..




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